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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No.: 1:21-cr-138-JEB
                                              :
AARON MOSTOFSKY,                              :
         Defendant.                           :

             ERRATA REGARDING GOVERNMENT’S FIRST NOTICE OF
           FILING OF VIDEOS PURSUANT TO LOCAL CRIMINAL RULE 49

       The United States of America, through the undersigned, hereby files this notice of an error

in its first Notice, pursuant to Local Criminal Rule 49, of videos provided to the Court and defense

counsel relating to May 6, 2022’s sentencing hearing. This notice incorrectly stated that the FBI

obtained Exhibit 1 from the defendant. In fact, it was obtained from a third party.

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052

                                                     /s/ Michael J. Romano
                                                     MICHAEL J. ROMANO
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